USCA Case #25-5097      Document #2123727          Filed: 07/03/2025   Page 1 of 2



                                     U.S. Department of Justice
                                     Civil Division, Appellate Staff
                                     950 Pennsylvania Ave. NW, Rm. 7260
                                     Washington, DC 20530

                                                              Tel: (202) 514-3388

                                            July 3, 2025

VIA CM/ECF

Clifton Cislak, Clerk of Court
U.S. Court of Appeals for the D.C. Circuit
333 Constitution Avenue, NW
Washington, DC 20001

RE:         Global Health Council v. Trump;
            AIDS Vaccine Advocacy Coalition v. Department of State,
            Nos. 25-5097, 25-5098 (D.C. Cir.)

Dear Mr. Cislak:

      We write to advise the Court of the Supreme Court’s decision in
Trump v. CASA, No. 24A884 (June 27, 2025), which bears on the proper
scope of any injunctive relief in this case. In CASA, the Supreme Court
addressed “universal injunctions,” which are injunctions that bar the
defendant from enforcing “a law or policy against anyone,” in contrast to an
injunction that bars the defendant from enforcing the challenged law or
policy against the plaintiff. Op. 1. The Supreme Court explained that
“Congress has granted federal courts no such power,” Op. 5, as universal
injunctions have no historical analogue in equity practice, Op. 5-11.

       Instead, the governing principle is that a court granting equitable
relief “may administer complete relief between the parties.” Op. 16
(quotation omitted). “Under this principle, the question is not whether an
injunction offers complete relief to everyone potentially affected by an
allegedly unlawful act; it is whether an injunction will offer complete relief to
the plaintiffs before the court.” Op. 17. And even then, “[c]omplete relief is
USCA Case #25-5097     Document #2123727         Filed: 07/03/2025   Page 2 of 2



not a guarantee—it is the maximum a court can provide.” Op. 18. Thus, “the
broader and deeper the remedy the plaintiff wants, the stronger the
plaintiff’s story needs to be.” Id. (quotation omitted).

      These principles demonstrate the error of the district court’s
injunction, which requires defendants to make available for obligation all
foreign assistance funds appropriated by the Further Consolidated
Appropriations Act of 2024 without regard to whether plaintiffs may receive
each segment of funds. See Gov’t Br. 62-64. In defending that broad relief,
plaintiffs have relied in part on the argument that universal relief is
“appropriate” where defendants have “relied on a categorical policy” and
“the facts would not require different relief for others similarly situated to
the plaintiffs.” Pls. Br. 56-57 (quotation and alteration omitted). The
Supreme Court’s reasoning in CASA makes clear that argument is incorrect.




                                           Sincerely,

                                           /s/ Sean R. Janda
                                           Sean R. Janda

cc:   Counsel of Record (via CM/ECF)




                                      2
